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                 IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF HAWAI‘I

  JOSHUA SPRIESTERSBACH,                   CIVIL NO. CV21-00456 LEK/RT
             Plaintiff,                    DEFENDANT CITY AND
       vs.                                 COUNTY OF HONOLULU’S
                                           REPLY TO PLAINTIFF’S
  STATE OF HAWAI‘I, CITY AND               OPPOSITION TO CITY’S
  COUNTY OF HONOLULU, OFFICER              MOTION FOR JUDGMENT ON
  ABRAHAM K. BRUHN, DEPARTMENT             THE PLEADINGS (ECF NO.
  OF PUBLIC SAFETY, OFFICE OF THE          106)
  PUBLIC DEFENDER, NIETZSCHE
  LYNN TOLAN, MICHELLE
  MURAOKA, LESLIE MALOIAN,
  JACQUELINE ESSER, JASON BAKER,
  MERLINDA GARMA, SETH PATEK,              Trial Date: None.
  DR. JOHN COMPTON, DR. MELISSA
  VARGO, DR. SHARON TISZA,
  HAWAI‘I STATE HOSPITAL, DR.
  ALLISON GARRETT, and JOHN/JANE
  DOES 1-20,
             Defendants.
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          DEFENDANT CITY AND COUNTY OF HONOLULU’S REPLY
         REGARDING MOTION FOR JUDGMENT ON THE PLEADINGS

                                   INTRODUCTION

         All of Plaintiffs’ claims are barred by the two-year statute of limitations. The

Complaint was filed more than two years after the statute had run on the separate

and distinct 2011, 2015, and 2017 incidents involving HPD. The claims as against

HPD also sound in false arrest, not false imprisonment, and even assuming they

sound in false imprisonment, the Complaint itself points to years of representation

by State public defenders and at least one court date that would start the clock on

any false imprisonment claim.

         In addition, the Complaint fails to state a Monell claim, which cannot be

pled conclusorily under the Iqbal standard. The other claims suffer similar

deficiencies, discussed further below.

                                      ARGUMENT

I.       The Running of the Statute of Limitations Is Apparent on the Face of
         the Complaint, and Wallace v. Kato is Distinguishable.

         The City agrees with the opposition that the statute of limitations applies in

situations where the face of the Complaint establishes the time-barred nature of the

claim. ECF 106 (Opp.) at 12 of 25.1 Such is the case here, with the factually

distinct actions of HPD officers in 2011, 2015, and 2017 are specified and pled.

1
    Citations to the opposition use the pagination at the top of the page.


                                             1
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Plaintiff cites to Wallace v. Kato, 549 U.S. 384, 389 (2007), arguing that because

his claim sounds in false imprisonment rather than false arrest, the statute of

limitations did not begin to run until his imprisonment ended. Id. But the claim

does not sound in false imprisonment as to the City and HPD officers. The City

does not own or run the state prisons, does not oversee the booking process at

OCCC, did not employ the various public defenders that represented Plaintiff, and

did not employ any doctors or nurses at the State hospital. Even in false

imprisonment claims, the “legal process” that starts the clock occurred long ago

because there were over two years of representation by various state public

defenders.2 Plaintiff repeatedly revealed his true identity “prior to his first court

hearing.” Id. ¶ 43. The 2011, 2015, and 2017 incidents are factually distinct

incidents involving different officers: they are not continuing violations. That

doctrine has been limited to hostile work environment and class-wide pattern-and-

practice claims. Bird v. Hawaii, 935 F.3d 738 (9th Cir. 2019).

        As for the opposition’s equitable tolling argument, Plaintiff has not met his

burden of demonstrating both (1) that he pursued his rights diligently, and (2) that

some extraordinary circumstances stood in his way preventing a timely filing. See

Ruppersberger v. Ramos, No. 11-00145 ACK-KJM, 2020 U.S. Dist. LEXIS

136824, at *6–8 (D. Haw. July 31, 2020). Even accepting Plaintiff’s own theory,

2
    Complaint, ECF No. 1 at ¶¶ 42–53.


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his duty to conduct due diligence was triggered in 2011, 2015, and 2017, at least as

to the City. Not only does Plaintiff have the burden of demonstrating both

elements, it is also his burden to show the causal connection between the

extraordinary circumstance and the untimeliness. Bonner v. Carey, No. SACV 99-

00091-DOC (MAN), 2009 U.S. Dist. LEXIS 12055, at *21–24 (C.D. Cal. Dec. 2,

2009). The allegations in the Complaint negate both diligence as to claims against

the City and the requisite causal connection. The Complaint was not filed until

November 21, 2021, just two months shy of two years after Plaintiff’s release on

January 17, 2020. Complaint ¶ 55.

      Finally, the opposition cites HRS § 657-13, arguing that tolling applied

during his imprisonment. Opp. at 13. But Plaintiff’s claim did not accrue as against

the City during Plaintiff’s imprisonment, as the statute requires. HRS § 657-13

(Tolling applies when imprisoned “at the time the cause of action accrued.”). The

allegations are that actions in 2011, 2015, and 2017 caused his imprisonment.

HRS § 657-13 is inapplicable because accrual as to both the City and HPD

defendants occurred prior to his imprisonment. But even if it were applicable, the

statute would not apply to claims that rely on respondeat superior to hold the City

liable. HRS § 657-13 (Tolling does not apply to “actions against the sheriff, chief

of police, or other officers.”); see, e.g., Burke v. City & Cty. of Honolulu, No. 08-

00339 BMK, 2010 U.S. Dist. LEXIS 121397, at *24 (D. Haw. Nov. 16, 2010)



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(“Under the doctrine of respondeat superior, if an employee is immune from suit,

then the employer is also immune from suit and cannot be liable.”) (cleaned up).

II.   Plaintiff Cannot State a Separate Claim Under the Fourteenth
      Amendment Against the City.

      Plaintiff cites various cases for the proposition that a Fourteenth Amendment

claim against the City is viable. Opp. at 15. While Plaintiff is correct that a

wrongful detention can ripen into a due process violation in certain situations, the

cases cited involve factual scenarios where the entity being sued is the same as the

entity overseeing the detention. Binding Ninth Circuit precedent prohibits

Plaintiff’s argument here. See Gant v. County of Los Angeles, 772 F.3d 608, 621

(9th Cir. 2014) (affirming dismissal of post-arrest detainment claim under the

Fourteenth Amendment where “the Chino defendants did not detain Ventura

beyond his arrest.”).

      It should also be noted that the allegations regarding repeated protestations

by Plaintiff that he was Joshua Spriestersbach are not allegations against HPD

Defendants. Rather, during the 2011 incident, Plaintiff refused to give his real

name. Complaint at 11–12. While Plaintiff allegedly and reluctantly gave his real

name in 2015 when he was illegally sleeping after-hours in Aala Park, he was not

arrested for Castleberry’s warrant in 2015. Id. at 13. Thus, Plaintiff’s contention

that there were repeated unlawful arrests within a short period is erroneous.

      Even more importantly, there was no widespread and “well-settled”

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 deliberately indifferent policy, as required by Monell, nor allegations that a final

 policymaker was aware of the incidents. The allegations regarding the 2017

 incident are that an HPD officer wrongly wrote Thomas R. Castleberry as an alias

 on the face of the warrant. Complaint ¶ 36. The Complaint is devoid of any non-

 conclusory allegations of other such incidents, ever, and there are no allegations

 that a final policymaker was aware of or ratified any such action.

        And if Plaintiff intends the failure to correct HPD records to be the intended

 City policy, this also fails. For policies of inaction, the custom or policy of inaction

 must be the result of a conscious or deliberate choice to follow a course of action

 made from among various alternatives by the official or officials responsible for

 establishing final policy with respect to the subject matter in question. See Lee v.

 City of Los Angeles, 250 F.3d 668, 681 (9th Cir. 2001). That is not the case here.

 III.   Plaintiff’s Monell Cases Are Inapposite.

        Plaintiff appears to contend that the Complaint is sufficient to state a Monell

 claim absent any factual allegations of prior similar incidents, citing cases,3 all of



 3
  Henry v. Cty. of Shasta, 132 F.3d 512, 519 (9th Cir. 1997), McRorie v. Shimoda,
 795 F.2d 780, 784 (9th Cir. 1986), Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir.
 2011), Pierce v. Cty. of Marin, 291 F. Supp. 3d 982, 995 (N.D. Cal. 2018), Powe v.
 Chicago, 664 F.2d 639, 651 (7th Cir. 1981), Rogan v. Los Angeles, 668 F. Supp.
 1384 (C.D. Cal. 1987), Sincerny v. City of Walnut Creek, No. 17-cv-02616-HSG,
 2018 U.S. Dist. LEXIS 54881, at *2 (N.D. Cal. Mar. 30, 2018), and Reyes v. City
 of Glendale, No. CV05-0253 CAS MANX, 2009 WL 2579614 (C.D. Cal. Aug. 19,
 2009).


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 which are inapposite.

       The plaintiff in Henry, which is a pre-Iqbal case, did in fact produce

 evidence that both he and others received similar treatment on other occasions.

 McRorie involved a complaint that alleged that a prison guard attempted to plunge

 a riot stick into the plaintiff’s anus during a strip search after a shakedown, that the

 guard was acting under the orders of his superiors, that 28 other inmates were also

 seriously injured during the strip search, and other facts showing that the attack

 was not an isolated incident. In Baca, the plaintiff specifically alleged numerous

 incidents in which inmates in the county jails had been killed or injured due to the

 actions of subordinates of the defendant-supervisor and there were “detailed

 factual allegations” about the numerous incidents. Pierce is a non-binding

 California district court decision that pointed to numerous specific factual

 allegations, including knowledge of the plaintiff’s court dates, reissuance of the

 warrant, and the sending of a booking photo by an employee to the Ukiah police

 after being informed by the police that the plaintiff had claimed that she had been

 repeatedly mistakenly arrested under the warrant issued for Huggard. Powe is a

 Seventh Circuit pre-Iqbal case that not only has not been adopted by the Ninth

 Circuit, but has also been questioned and distinguished in the Seventh Circuit.

 Rogan is a 1987 non-binding, pre-Iqbal California district court decision involving

 stolen identity and an individual who was arrested multiple times at gunpoint over



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 three years. Sincerny is a non-binding California district court opinion regarding

 alleged unconstitutional show-up procedures, and a case that provides very little

 factual or legal analysis, with facts that bear no resemblance to this case. In Reyes,

 it appears that the specific policies of the police department were undisputed, and

 in any event, the order mentioned Monell only three times in the context of a

 motion in limine that was ultimately decided on state, not federal, law.

       As to the HPD Defendants, this case does not involve either (1) repeated

 unlawful arrests within a short period of time prior to 2017 so as to put the City on

 notice, (2) knowledge by a final policymaker of the incidents or ratification of the

 incidents, or (3) repeated insistence by Plaintiff to HPD officers that he was Joshua

 Spriestersbach. Rather, in 2011 he did not give his real name, and in 2015 he was

 not arrested on Castleberry’s warrant. There is no authority for finding those two

 prior factually dissimilar incidents to constitute the requisite notice, nor for

 showing a widespread City custom that was deliberately indifferent and the

 moving force behind the constitutional violation. Furthermore, there are no

 incidents alleged in the Complaint that are similar to the 2017 incident.

       Plaintiff next argues that this is a case in which the failure to train amounts

 to deliberate indifference when it is highly predictable that the absence of such

 training could lead to constitutional violations. Opp. at 17–18. This argument

 suffers several infirmities. “Single-incident” liability is “rare” and found “in a



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 narrow range of circumstances,” only where the violation is a “highly predictable

 consequence of the failure to train.”4 This narrow exception does not apply because

 Plaintiff is not claiming that this is a “single incident.” Causation is also lacking

 because it is not alleged that the affirmative writing of Thomas R. Castleberry as

 an alias on the face of the warrant5 was part of any training by HPD. It is not

 specifically alleged (nor could it be) that HPD is in charge of the booking process

 at OCCC. And the allegations that failure to identify Plaintiff’s identity violated

 “all applicable rules and regulations and relevant standards of care, causing injury

 to Joshua”6 is causally invalid as to the City Defendants: it contradicts the

 conclusion that the City was on notice of his lengthy detention by the State, in

 which he had access to public defenders, the court system, and a hospital that

 previously treated him. Those events are too attenuated to be viewed as a “highly

 predictable” cause of HPD’s alleged failure to train.

 IV.     Plaintiff Is Not Bringing a Substantive Due Process Claim.

         While the Complaint fails to clarify, the opposition confirms that Plaintiff is

 only pursuing a procedural due process claim, not a substantive due process claim.

 Opp. at 18.


 4
  See Nordenstrom v. Corizon Health, Inc., No. 3:18-cv-01754-HZ, 2021 U.S.
 LEXIS 115139, at *44-45 (D. Or. June 18, 2021) (citations omitted).
 5
     Complaint ¶ 36.
 6
     See ECF No. 1, ¶ 39.


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 V.    Plaintiff’s Causation Argument is Incorrect.

       Plaintiff claims (without citation to authority) that this is not an intervening

 cause case because he has every right not to be seized, arrested, and detained

 without probable cause. Opp. at 18. But this argument contradicts his earlier

 assertion that this is really a false imprisonment claim that is not time-barred.

       The argument also fails because all of the subsequent events were

 unforeseeable: (1) the booking procedures by OCCC, (2) his multiple public

 defenders, and (3) his various trained doctors at a facility that had already housed

 and treated this exact same person, and (4) the repeated protestations to them that

 he was not Spriestersbach, It was unforeseeable that all of these would result in his

 lengthy detention.

 VI.   Plaintiff’s Fourth Amendment Arguments Fail.

       Plaintiff argues that the Fourth Amendment states a Monell claim, citing to

 the same out-of-circuit, factually distinguishable, and pre-Iqbal cases discussed

 above. Opp. at 19. But the so-called “extreme” nature of the three distinct incidents

 is factually inaccurate. There were no repeated arrests on Castleberry’s warrant

 prior to 2017. The vague and non-specific allegations that “the City does not train

 its officers on determining who exactly they are arresting or even on ensuring

 records are accurate; or investigating the identity of houseless and mentally ill

 persons before simply arresting them”—do not show a non-conclusory and specific



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 deficiency in training that is “closely related to the ultimate injury.” See Cameron

 v. Gila Cty., No. CV11-80-PHX-JAT, 2011 U.S. Dist. LEXIS 56650, at *8 (D.

 Ariz. May 25, 2011).

 VII. Plaintiff Misapprehends the ADA Law.

       Plaintiff begins his ADA discussion with two assertions: (1) the City is

 liable for both its own actions and failures to provide reasonable accommodations

 for a disability, and (2) the City is vicariously liable for the same conduct. For

 authority he cites Borawick v. City of Los Angeles, 793 F. App’x 644, 646 (9th Cir.

 2020) (citing Duvall v. Kitsap, 260 F.3d 1124, 1141 (9th Cir. 2001). While

 Borawick and Duvall hold that respondeat superior liability is appropriate, they do

 not suggest that an ADA claim based on Monell is appropriate. Any Monell claim

 fails here under Iqbal because there is no widespread and well-settled

 discriminatory policy, and there are no allegations regarding final policymakers.

       It is also worth noting that most other circuits have rejected the straight

 respondeat superior theory adopted by the Ninth Circuit, and even Ninth Circuit

 cases express skepticism of Duvall:

     Ravenna v. Village of Skokie, 388 F. Supp. 3d 999, 1004–08 (N.D. Ill. 2019)

       (“Unlike the Ninth Circuit’s decision in Duvall, the Eleventh Circuit’s

       decision in Liese finding no respondeat superior liability under Title II of the

       ADA stands on much stronger ground. It tracks the Supreme Court’s


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       reasoning in Gebser v. Lago Vista Independent School District, 524 U.S.

       274 (1998)”) (cleaned up);

     Hooper v. City of St. Paul, No. 17-CV-3442 (PJS/DTS), 2019 U.S. Dist.

       LEXIS 145084, at *27–28 (D. Minn. Aug. 26, 2019) (“The foundation of the

       Ninth Circuit’s decision in Duvall is questionable.…In short, Duvall is the

       only appellate decision that has not relied on a Title I case in determining

       that vicarious liability is available under Title II of the ADA.”);

     Jones v. City of Detroit, No. 21-1055, 2021 U.S. App. LEXIS 37757, at *8

       (6th Cir. Dec. 21, 2021) (“But time and circumstances have not favored

       either decision. Our conclusion that vicarious liability does not apply to Title

       II of the ADA or § 505 of the Rehabilitation act takes us to the end of the

       road for Jones’s two failure-to-accommodate claims against the City.”)

       (cleaned up).

       And at least one recent district court in the Ninth Circuit held that while

 respondeat superior still applies in the ADA and Section 504 contexts, the district

 could be liable only if a person with sufficient authority had advance notice of the

 problem. See K.H. v. Antioch Unified Sch. Dist., 424 F. Supp. 3d 699, 700–02

 (N.D. Cal. 2020).

       Even if one assumes Duvall is good law in the Ninth Circuit, it requires an

 individual upon whom the City’s liability is based to “act with a mens rea of


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 intentional discrimination,” and Iqbal further requires courts to exclude “rhetorical

 hyperbole and conclusory assertions” when making such a determination. See, e.g.,

 Bylsma v. Hawaii, No. 19-cv-00611-DKW-RT, 2019 U.S. Dist. LEXIS 219200, at

 *5–6 (D. Haw. Dec. 18, 2019) (cleaned up) (citing Duvall, 260 F.3d at 1138).

 None of the incidents with respect to the three HPD individuals here show such a

 culpable state of mind.

       Again, there is no unlawful imprisonment claim against the HPD

 Defendants. In the ADA context, there are two types of unlawful arrest claims,

 neither of which are adequately pled here: “(1) wrongful arrest, where police

 wrongly arrest someone with a disability because they misperceive the effects of

 the disability as a criminal activity; and (2) reasonable accommodation, where,

 although police properly investigate and arrest a person with a disability for a

 crime unrelated to that disability, they fail to reasonably accommodate the person’s

 disability in the course of investigation or arrest, causing the person to suffer

 greater indignity in that process than other arrestees.” Sheehan v. City and Cty. of

 San Francisco, 743 F.3d 1211, 1232 (9th Cir. 2014). The second type does not

 apply because the Complaint alleges that there was no probable cause for arrest.

 The first type also fails because there is no indication that HPD officers

 misperceived the effects of Plaintiff’s disability as a criminal activity.

       The opposition fails to clarify what disability Plaintiff is asserting, instead



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 merely pointing to conclusory allegations that any HPD officer knew of such a

 disability or acted or failed to act “by reason of” that disability. Complaint ¶ 80.

 Indeed, Plaintiff cites to no case law or other authority that would suggest that

 “Joshua’s disability and the perception of him by those in authority makes it

 difficult for his statements of fact about his identity to be trusted”7—is a

 recognized disability or that the officers should have known of such a disability

 during their interactions with him.

         Plaintiff’s argument that a reasonable accommodation was “obvious”8 is

 particularly specious where the nature of the disability itself is framed in terms of it

 being difficult for others to trust what Plaintiff was saying. To the extent Plaintiff

 is suggesting that he offered his real name in 2011—that not true. He only said that

 he was Castleberry, and later, once, stated that he was William Castleberry.

 Complaint at ¶¶ 19–22.

 VIII. The Federal Abuse-of-Process Claim Is Nonexistent or Fails.

         Plaintiff ignores the City’s recent case law indicating that neither the Ninth

 Circuit nor the Supreme Court has recognized a federal 1983 abuse-of-process

 claim. Instead he only cites Gowin v. Altmiller, 663 F.2d 820, 823 (9th Cir. 1981),

 claiming that the Ninth Circuit has “presumed” such a cause of action “for some


 7
     Complaint ¶ 79.
 8
     Opp. at 22.


                                            13
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 time.” Opp. at 22. But the elements and case law cited in the Gowin case are for

 the California state abuse-of-process claim, not a federal claim. In any event, the

 case law case confirms both (1) that the Ninth Circuit has not adopted such a

 claim, and (2) that most federal courts that have considered the issue have held that

 an alleged abuse of process cannot give rise to a constitutional violation absent

 “conscience-shocking egregious wrongdoing.” See, e.g., West v. City of Mesa, 708

 F. App’x 288, 292 (9th Cir. 2017); Emmanuel v. King County, No. C18-0377JLR,

 2020 Dist. LEXIS 152320, at *40–41 (W.D. Wash. Aug. 21, 2020); Harvey v.

 United States, No. 15-CV-24012-ALTONAGA, 2020 U.S. Dist. LEXIS 75356, at

 *39–41 (S.D. Fla. Apr. 28, 2020) (collecting cases).

       The opposition also ignores the City’s arguments regarding the state abuse-

 of-process elements, instead merely asserting that the elements are met because it

 is alleged that some defendant must have “altered” the State database to cover up

 the false imprisonment. Opp. at 23. But there are no allegations suggesting that any

 HPD officer was part of any cover-up, or that any HPD officer was the one who

 allegedly altered the State database. The fact that the City may have “access” to the

 State database does not make it plausible that an HPD Defendant was the one who

 allegedly altered it, particularly where it is not alleged that any HPD Defendant

 attended any of the alleged cover-up meetings. The opposition cites no authority

 suggesting that alteration of a database is the type of legal process contemplated in



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 abuse of process claims that are tied to legal proceedings, prosecution, etc. And

 there is no Monell aspect to the claim that a State database was allegedly altered by

 someone: there is no widespread custom of altering State databases or a final

 policymaker who did so.

 IX.   Malice and Improper Purpose Are Pled Conclusorily.

       The state law claims require factual allegations of a clear and convincing

 nature that an HPD employee acted with malice and an improper purpose. The

 opposition only cites conclusory allegations of malice, and again mischaracterizes

 the three distinct police interactions. Opp. at 23–24. The cases cited are not

 factually analogous, not to mention that federal pleading standards, not state,

 govern this motion. The state law claims should be dismissed for the reasons stated

 in the motion, which were not adequately addressed in the opposition.

                                   CONCLUSION

       The motion for judgment on the pleadings should be granted.

       DATED: Honolulu, Hawai‘i, April 28, 2022.

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